

Ryan v City of New York (2021 NY Slip Op 00534)





Ryan v City of New York


2021 NY Slip Op 00534


Decided on February 02, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 02, 2021

Before: Manzanet-Daniels, J.P., Webber, González, Scarpulla, JJ. 


Index No. 307464/12 Appeal No. 13010 Case No. 2019-03452 

[*1]Carla Ryan, Plaintiff-Appellant,
vThe City of New York et al., Defendants-Respondents.


Law Office of Neil R. Finkston, Great Neck (Neil R. Finkston of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York (Nwamaka Ejebe of counsel), for respondents.



Order, Supreme Court, Bronx County (Mitchell J. Danziger, J.), entered on or about July 12, 2019, which, to the extent appealed from as limited by the briefs, granted defendants' motion for summary judgment dismissing the malicious prosecution claim as against defendants City of New York and New York City Department of Education, unanimously affirmed, without costs.
The record demonstrates that plaintiff cannot show that defendants' employees either initiated the criminal prosecution against her or acted with actual malice in providing information to the District Attorney's office (see Colon v City of New York, 60 NY2d 78, 82 [1983]; Present v Avon Prods., Inc., 253 AD2d 183, 189 [1st Dept 1999], lv dismissed 93 NY2d 1032 [1999]; Nardelli v Stamberg, 44 NY2d 500, 502-503 [1978]).
Moreover, there was probable cause for the prosecution (see Morant v City of New York, 95 AD3d 612 [1st Dept 2012]; see also People v Bigelow, 66 NY2d 417, 423 [1985]). Plaintiff admitted that she had provided inaccurate time logs and car fare reimbursement forms and falsely told her direct supervisor that she had been teaching a student who had been hospitalized. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 2, 2021








